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 6                                UNITED STATES DISTRICT COURT

 7                                       DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                          )
                                                      )
 9                        Plaintiff,                  )
                                                      )
10          v.                                        ) 2:11-CR-395-PMP-(GWF)
                                                      )
11 EDWARD LIU,                                        )
                                                      )
12                        Defendant.                  )
13                      AMENDED PRELIMINARY ORDER OF FORFEITURE

14          This Court finds that on June 30, 2014, defendant EDWARD LIU pled guilty to Count Two of

15 a Two-Count Criminal Indictment charging him with Possession of Fifteen or More Counterfeit and

16 Unauthorized Access Devices in violation of Title 18, United States Code, Section 1029(a)(3).

17 Indictment, ECF No. 1; Change of Plea, ECF No. 32; Plea Agreement, ECF No. 34.

18          This Court finds defendant EDWARD LIU agreed to the forfeiture of the property set forth in

19 the Plea Agreement and the Forfeiture Allegations of the Criminal Indictment. Indictment, ECF No.

20 1; Change of Plea, ECF No. 32; Plea Agreement, ECF No. 34.

21          This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of America

22 has shown the requisite nexus between property set forth in the Plea Agreement and the Forfeiture

23 Allegations of the Criminal Indictment and the offense to which defendant EDWARD LIU pled guilty.

24          The following assets are subject to forfeiture pursuant to Title 18, United States Code, Section

25 1029(c)(1)(C); Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code,

26 Section 2461(c); and Title 18, United States Code, Section 982(a)(2)(B):
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 1           an in personam criminal forfeiture money judgment of $93,533.70 in United States

 2           Currency, including:

 3           1)     Sony PlayStation 3, 120 Gigabyte (GB), Serial Number (S/N): CG165023869;

 4           2)     Sony PlayStation 3, 120 GB, S/N: CG158769194;

 5           3)     Sony PlayStation 3, 120 GB, S/N: CG160257818;

 6           4)     Sony PlayStation 3, 120 GB, S/N: CG160034181;

 7           5)     Sony PlayStation 3, 120 GB, S/N: CG216734454;

 8           6)     Sony PlayStation 3, 120 GB, S/N: CG157528747;

 9           7)     Sony PlayStation 3, 120 GB, S/N: CG160299009;

10           8)     Sony Play Station Portable (PSP), S/N: 01-27400751-0579771PSP1000;

11           9)     Sony PSP, S/N: AB017856225-PSP2001;

12           10)    Sony Play Station Portable (PSP) video game: Monster Hunter;

13           11)    Sony PSP video game: Prince of Persia;

14           12)    Sony PSP video game: Need for Speed;

15           13)    Sony PSP video game: Grand Theft Vice City Stories;

16           14)    Nintendo DS, S/N: TW711253641;

17           15)    Nintendo DS, S/N: TW710312509;

18           16)    Nintendo DS, S/N: TW413449991;

19           17)    Nintendo DS, S/N: TW710367547;

20           18)    Nintendo DS, S/N: TW418728732;

21           19)    Nintendo DS, S/N: TW711197907;

22           20)    Nintendo DS, S/N: TW707877486;

23           21)    Nintendo DS, S/N: TW415856018;

24           22)    Nintendo DS, S/N: TW711256888;

25           23)    Apple IPOD Touch, 64 GB, S/N: 9C937ACA6K4;

26           24)    Apple IPOD Touch, 64 GB, S/N: 9C9376MG6K4;

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 1                 25)     Apple IPOD Touch, 64 GB, S/N: 9C9372TN6K4;

 2                 26)     Apple IPOD Touch, 64 GB, S/N: 9C93721W6K4;

 3                 27)     Apple IPOD Touch, 64 GB, S/N: 9C9375QV6K4;

 4                 28)     Apple IPOD Touch, 64 GB, S/N: 9C936SJR6K4;

 5                 29)     Apple IPOD Touch, 64 GB, S/N: 9C9378A46K4;

 6                 30)     Apple IPOD Touch, 64 GB, S/N: 9C936QPC6K4;

 7                 31)     Apple IPOD Touch, 64 GB, S/N: 9C936XJK6K4;

 8                 32)     Apple IPOD Touch, 64 GB, S/N: 9C936T5Y6K4;

 9                 33)     Apple IPOD Touch, 64 GB, S/N: 9C937F816K4;

10                 34)     Apple IPOD Touch, 64 GB, S/N: 9C936Q3V6K4;

11                 35)     Apple IPOD Touch, 32 GB, S/N: 1B936PUW6K2;

12                 36)     Apple IPOD Touch, 32 GB, S/N: 1A937FMD6K2;

13                 37)     Apple IPOD Touch, 32 GB, S/N: 1C9379NT6K2;

14                 38)     Apple IPOD Touch, 32 GB, S/N: 1A937XT56K2;

15                 39)     Black handheld skimming device with no identifying numbers;

16                 40)     HP Notebook Laptop computer, Serial Number: 2CE6450071;

17                 41)     $6,830.00 in United States Currency; and

18                 42)     $2,200.00 in United States Currency

19 (all of which constitutes “property”).

20           This Court finds the United States of America is now entitled to, and should, reduce the

21 aforementioned property to the possession of the United States of America.

22           NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the

23 United States of America should seize the aforementioned property.

24           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of

25 EDWARD LIU in the aforementioned property is forfeited and is vested in the United States of

26 America and shall be safely held by the United States of America until further order of the Court.

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 1           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America

 2 shall publish for at least thirty (30) consecutive days on the official internet government forfeiture

 3 website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state the

 4 time under the applicable statute when a petition contesting the forfeiture must be filed, and state the

 5 name and contact information for the government attorney to be served with the petition, pursuant to

 6 Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).

 7           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any individual or entity

 8 who claims an interest in the aforementioned property must file a petition for a hearing to adjudicate

 9 the validity of the petitioner’s alleged interest in the property, which petition shall be signed by the

10 petitioner under penalty of perjury pursuant to Title 21, United States Code, Section 853(n)(3) and

11 Title 28, United States Code, Section 1746, and shall set forth the nature and extent of the petitioner’s

12 right, title, or interest in the forfeited property and any additional facts supporting the petitioner’s

13 petition and the relief sought.

14           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be filed

15 with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101, no later than

16 thirty (30) days after the notice is sent or, if direct notice was not sent, no later than sixty (60) days

17 after the first day of the publication on the official internet government forfeiture site,

18 www.forfeiture.gov.

19           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,

20 shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the

21 following address at the time of filing:

22                  Michael A. Humphreys
                    Assistant United States Attorney
23                  Daniel D. Hollingsworth
                    Assistant United States Attorney
24                  Lloyd D. George United States Courthouse
                    333 Las Vegas Boulevard South, Suite 5000
25                  Las Vegas, Nevada 89101.
26 . . .

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 1          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein

 2 need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency

 3 following publication of notice of seizure and intent to administratively forfeit the above-described

 4 property.

 5          DATED this 8th
                       ___ day of July, 2014.

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 8
                                                 UNITED STATES DISTRICT JUDGE
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                                           PROOF OF SERVICE
 1

 2         I, Mary Stolz, Forfeiture Support Associates Paralegal, certify that the following individual

 3 was served with a copy of the Preliminary Order of Forfeiture on July 8, 2014, by the below identified

 4 method of service:

 5         Electronic Filing
 6         R. Darren Cornforth
           Law Offices of R. Darren Cornforth
 7         3303 Del Mar Ave., Suite B
           Rosemead, CA 91770
 8         rdcornforth@yahoo.com
           Counsel for Edward Liu
 9

10                                       /s/ Mary M. Stolz
                                         Mary M. Stolz
11                                       Forfeiture Support Associates Paralegal
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